
550 So.2d 543 (1989)
R.P., a Child, Petitioner,
v.
STATE of Florida, Respondent.
No. 89-2032.
District Court of Appeal of Florida, Fifth District.
October 25, 1989.
Howard H. Babb, Jr., Public Defender and Daniel J. Snow, Asst. Public Defender, Tavares, for petitioner.
Robert A. Butterworth, Atty. Gen., Tallahassee and Pamela D. Cichon, Asst. Atty. Gen., Daytona Beach, for respondent.
PER CURIAM.
Petitioner, a child, has been in secure detention for more than five days after being committed to the Department of Health and Rehabilitative Services, contrary to section 959.12, Florida Statutes and seeks a writ of habeas corpus. The State's response concedes that the child has not been placed within the time limit provided, but contends that none of the designated placement options are immediately *544 available. In B.E.O. v. State, 544 So.2d 1175 (Fla. 5th DCA 1989) this court held that section 959.12 is mandatory and the child must be removed from detention within five days, therefore the petition for writ of habeas corpus is granted and the writ is issued.
WRIT ISSUED.
DANIEL, C.J., and SHARP and GOSHORN, JJ., concur.
